UN|TED STATES D|STR|CT COURT

Case 1:04-cr-10lO4-.]DT Document 26 Filed 05/18/05 Page 1 015 Pag/?@Sg §/
WESTERN D|STR|CT OF TENNESSEE \`

 

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"" 04-10104-01-T 1,/@§“/»6¢

THOMAS FLO|ED
Timothy V. Potterl Retained
Defense Attorney
210 East Co||ege Street
Dickson, TN 37056

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 16, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Tit|e & Section _N§LLL'M Conc|uded Number(s)
21 U.S.C. § 841 (a)(1) Nlanufacture and Possession with 06113/2004 1

intent to Distribute Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/28/1941 lVlay 16, 2005
Deft's U.S. |V|arsha| No.: 19932-076

Defendant’s |Vlai|ing Address:
139 West 7"‘ Avenue
Lobelville, TN 37097

A-W

JA|VI . TODD
CH| UN|TED STATES D|STR|CT JUDGE

 

Thls document entered on the docket sheet ln compliance

with nule ss andlor32(bl FF‘C'P °“ 5 lV|ay /g , 2005

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

Whi|e on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunitionl or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). |f this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administerany narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributedl or administered;

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8. The defendant shall notassociate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crirninal N|onetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period
of 6 months to commence immediately. During this time, defendant will
remain at defendants place of residence except for employment and other
activities approved in advance by the Defendant’s Probation thcer. The
defendant shall maintain a telephone at his place of residence without any
special services, modems, answering machines or cordless telephones for
the above period. The defendant shall wear an electronic monitoring device
and shall observe the rules specified by the probation officer.

2. The defendant shall participate as directed in a program of testing and
treatmentfordrug and alcohol abuse as directed by the probation officer until
such time as the defendant is released from the program by the probation
officer.

3. The defendant shall cooperate with the United States Probation Office in the
collection of DNA.

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CR|M|NAL MONETARY PENALTlES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediately.
F|NE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:04-CR-10104 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

Timothy V. Potter
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Dickson, TN 37056

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

